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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                      CASE NO. 14-60611-CIV-ROSENBERG/BRANNON

  OLGA ROSALES,

         Plaintiff,

  vs.

  MSC CROCIERE, S.A., a
  Foreign corporation,

        Defendant.
  ________________________/

   PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
     ANY ARGUMENT OR EVIDENCE OF GENERAL PROBLEMS IN THE CRUISE
                               INDUSTRY

         COMES NOW Plaintiff, OLGA ROSALES, by and through undersigned counsel, and

  hereby serves this, her Response to Defendant’s Motion to Preclude Any Argument or Evidence

  of General Problems in the Cruise Industry [DE 51] and as grounds therefore states:

         1.      Plaintiff does not oppose the relief sought by Defendant in their Motion to

  Preclude Argument or Evidence of General Problems in the Cruise Industry [DE 51].
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 12, 2014, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who are
  not authorized to receive electronically Notices of Electronic Filing.

                                             Respectfully submitted,
                                             s/Jonathan B. Aronson
                                             Jonathan B. Aronson, Esq.
                                             Florida Bar No. 434116
                                             ARONSON LAW FIRM
                                             5730 S.W. 74th Street, Suite 800
                                             Miami, Florida 33143
                                             Telephone: (305) 662-1233
                                             Facsimile: (305) 662-1266
                                             Email: jaronson@aronsonlawfirm.com

                                      SERVICE LIST

  Jeffrey B. Maltzman, Esq.
  Steve Holman, Esq.
  Maltzman & Partners, P.A.
  55 Miracle Mile
  Suite 320
  Coral Gables, Florida 33134
  Telephone: (305) 779-5665
  Facsimile: (305) 779-5664
  Email: jeffreym@maltzmanpartners.com
  Email: steveh@maltzmanpartners.com
   
